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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                           :
Jacqueline Nee,                            :
                                             Civil Action No.: ______
                                           :
                    Plaintiff,             :
        v.                                 :
                                           :
Bradley J. Rephen Law Firm; and DOES 1-10, :
                                             COMPLAINT
inclusive,                                 :
                                           :
                                           :
                    Defendants.            :



                For this Complaint, the Plaintiff, Jacqueline Nee, by undersigned counsel, states

as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Jacqueline Nee (“Plaintiff”), is an adult individual residing in

Salem, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.       The Defendant, Bradley J. Rephen Law Firm (“Bradley”), is a New York business

entity with an address of 17 Squadron Boulevard, Suite 320, New City, New York 10956-5214,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

       6.       Does 1-10 (the “Collectors”) are individual collectors employed by and whose

identities are currently unknown to the Plaintiff. One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.

       7.       Bradley at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.       The Plaintiff incurred a financial obligation (the “Debt”) to a creditor (the

“Creditor”) in connection with a gym membership.

       9.       The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.      The Debt was purchased, assigned or transferred to Bradley for collection, or

Bradley was employed by the Creditor to collect the Debt.

       11.      The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Bradley Engages in Harassment and Abusive Tactics

       12.      The Plaintiff contacted the Defendants regarding the Debt after learning that there

was a negative marking on her credit report with the Defendants’ name.


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        13.      The Plaintiff never received any prior written correspondence or telephone

communications from the Defendants regarding the Debt.

        14.      During subsequent telephone conversations, the Defendants used rude and

abusive language while speaking with the Plaintiff.

        15.      For instance, the Defendants told the Plaintiff that her name was most likely on a

fraudulent check list and that “no judge would be sympathetic” to her regarding her Debt.

        16.      The Defendants threatened to file a lawsuit against the Plaintiff. To date, no such

litigation has been filed.

        17.      The Plaintiff requested that the Defendants provide the Plaintiff with verification

of the Debt. The Defendants however, stated that they did not have to provide the Plaintiff with

the requested verification.

        18.      The Plaintiff, seeking to satisfy payment of the Debt, paid to the Defendants, one

thousand ($1,000.00) dollars. The Defendants did not provide the Plaintiff with confirmation of

such payment.

        19.      The Defendants attempted to debit payments from the Plaintiff’s bank account

without her permission.

        20.      The Defendants told the Plaintiff, in subsequent phone calls, that such calls had

been recorded. The Plaintiff was never initially informed that her telephone conversations were

being recorded.

        21.      The Defendants did not provide the Plaintiff with a validation notice explaining

her rights under state and federal law or her right to dispute the Debt.




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   C. Plaintiff Suffered Actual Damages


       22.      The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       23.      As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

       24.      The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                    COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       25.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       26.      The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

       27.      The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take legal action, without actually intending to do so.

       28.      The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       29.      The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that Defendants

failed to send the Plaintiff a validation notice stating the amount of the Debt.




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        30.      The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that Defendants

failed to send the Plaintiff a validation notice stating the name of the original creditor to whom

the Debt was owed.

        31.      The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendants

failed to send the Plaintiff a validation notice stating the Plaintiff’s right to dispute the Debt

within thirty days.

        32.      The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants

failed to send the Plaintiff a validation notice informing the Plaintiff of a right to have

verification and judgment mailed to the Plaintiff.

        33.      The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that Defendants

failed to send the Plaintiff a validation notice containing the name and address of the original

creditor.

        34.      The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that Defendants

continued collection efforts even though the Debt had not been validated.

        35.      The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        36.      The Plaintiff is entitled to damages as a result of Defendants’ violations.


                              COUNT II
     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                        M.G.L. c. 93A § 2, et seq.

        37.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        38.      The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.


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       39.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.


                                  COUNT V
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       40.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       41.      The acts, practices and conduct engaged in by the Defendants vis-à-vis the

Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.

       42.      The foregoing conduct constitutes the tort of intentional infliction of emotional

distress under the laws of the State of Massachusetts.

       43.      All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages.


                                     PRAYER FOR RELIEF

                WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                       §1692k(a)(2)(A) against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

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                 4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                       c. 93A § 3(A);

                 5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                 6. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;

                 7. Punitive damages; and

                 8. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: June 17, 2010

                                               Respectfully submitted,

                                               By:     /s/ Sergei Lemberg

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